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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:                                                        Case No.: 18-bk-07666
                                                              Chapter 7
ROWENA M GRAY-LESLIE

Debtor.                        /


                      MOTION TO SELL REAL PROPERTY
           AND PAY SECURED CREDITORS AND TRANSACTIONAL COSTS
                              (3702 Gywnn Oak)

                                NOTICE OF OPPORTUNITY TO
                             OBJECT AND REQUEST FOR HEARING

       Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
    without further notice or hearing unless a party in interest files an objection within twenty-
    one (21) days from the date set forth on the attached proof of service, plus an additional three
    days for service if any party was served by U.S. Mail.

        If you object to the relief requested in this paper, you must file your objection with the
    Clerk of the Court at 400 West Washington St, Suite 5100, Orlando, Florida 32801 and serve
    a copy on Arvind Mahendru, Esq., 5703 Red Bug Lake Rd. #284, Winter Springs Florida,
    32708 and any other appropriate persons within the time allowed. If you file and serve a
    response within the time permitted, the Court will either schedule and notify you of a hearing
    or consider the response and grant or deny the relief requested without a hearing.

        If you do not file a response within the time permitted, the Court will consider that you
    do not oppose the relief requested in the paper, will proceed to consider the paper without
    further notice and hearing, and may grant the relief requested.

         COMES NOW Arvind Mahendru, Chapter 7 Trustee, by and through his undersigned

counsel, and hereby moves for authority to sell certain improved real property and pay secured

lien and transactional costs and in support thereof states as follows:




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                                    JURISDICTION

1. This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and

   1334.This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b) (2) (A),

   (M), (N) and (O).

2. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

3. The basis for the relief requested herein are, inter alia, 11 U.S.C. §§ 105, 363(b) and

   Federal Rules of Bankruptcy Procedure 2002 and 6004.

                                    BACKGROUND

4. On December 11, 2018, the Debtor filed this case for relief under Chapter 7 of the United

   States Bankruptcy Code.

5. Arvind Mahendru was appointed Chapter 7 trustee (the “Trustee”).

6. The Debtors own real property, by virtue of a deed, located at 3702 Gwynn Oak,
    Baltimore, MD, more particularly known as:

  BEGINNING FOR THE SAME on the northwest side of Gwynn Oak Avenue at the
  distance of 55 feet northeasterly from the corner formed by the intersection of the
  northwest side of Gwynn Oak Avenue and the northeast side of Haddon Avenue and
  running thence northeasterly binding on the northwest side of Gwynn Oak Avenue 53 feet
  thence northwesterly parallel with Haddon Avenue 172 feet 6 inches to the southeast side
  of an alley 20 feet wide there situate thence southwesterly binding thereon with the use
  thereof in common 53 feet and thence southeasterly by a straight line 172 feet 6 inches to
  the place of beginning. The property thereon being known as No. 3702 Gwynn Oak
  Avenue (the “Property”).

7. The Trustee completed a title search and found that the Property is encumbered by a

   mortgage lien. By priority, but not including any outstanding property taxes or

   municipal liens, the Property is encumbered as follows:

   Deed of Trust from Rowena M. Gray to John Burson, Trustee(s), to secure Washington Mutual
   Bank, FA in the amount of $247,500.00, dated October 31, 2007, recorded November 21, 2007
   in Liber 10186 at Folio 750; Assignments recorded in Liber 16970 at Folio 96, Liber 17048 at
   Folio 246, Liber 19847 at Folio 346, Corrective Assignment in Liber 20321 at Folio 29,
   Assignment in Liber 20353 at Folio 285; Appointment of Substitute Trustees recorded in Liber
   17235 at Folio 494




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8. The Trustee has accepted an offer from Manheim Holdings LLC (the Buyer) to purchase

  this home in the amount of $155,000.00, as payment in full (subject to Court and

  Lienholder approval). The current offer was not the only offer on the property but is the

  highest offer. Moreover, the estate believes it is a fair offer for the current economy and

  the length the property has remained on the market.

9. Any real property taxes will be paid prorated.

10. The sale price of $155,000.00, net the closing costs will be enough to satisfy the

   outstanding lien of Select Portfolio Servicing as disclosed in the short sale approval

   attached as Exhibit A.

11. The Trustee has attached a “DRAFT” Settlement Statement that outlines the proposed

   distribution of the sale proceeds at closing, as Exhibit “B.”

                                   AUTHORITY TO SELL

12. Pursuant to § 363(b)(1) of the Bankruptcy Code, a trustee, after notice and hearing, may

   use, sell or lease property of the estate other than in the ordinary course of business.

                                        CONCLUSION

13. The Trustee, in the exercise of his business judgment, believes, and therefore avers, that

   the proposed sale is in the best interest of the creditors of the bankruptcy estate insofar

   as there is otherwise no equity in the Property, the Trustee is more familiar with the

   current market than other interested parties, and a sale under this motion serves the best

   interest of all interested parties, including the Secured Creditors. The Buyer has agreed,

   subject to Court approval, to pay to the Trustee the sum of $155,000.00 in exchange for

   the Property.




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   WHEREFORE, the Trustee moves for the entry of an Order substantially in the form

attached hereto:

   A. Authorizing the sale of the Property to the purchaser; and,

   B. Authorizing the Trustee to take any all actions and to execute any and all documents

       necessary and appropriate to effectuate and consummate the terms of said sale of the

       Property including executing a deed conveying the interests of the Debtor or any other

       party claiming an interest in the Property to the Purchaser;

   C. Authorizing the Trustee and any escrow agent upon the Trustee’s written instruction,

       shall be authorized to make such disbursements on or after the closing of the sale as are

       required by the purchase agreement or order of this Court, including, but not limited to,

       (a) all delinquent real property taxes and outstanding post-petition real property taxes pro

       rated as of the closing with respect to the real property included among the purchased

       assets (b) any outstanding Home Owner’s Association fee or assessment arrearages; and

       (c) other anticipated closing costs:

       Total Sales/Brokers Commission:
               2% to BK Global                                              $3,100.00
               2% to Long & Forrester                                       $6,200.00
       *commission is anticipated to be shared with cooperating agent
       Title Charges:                                                       $2,500.00
       County Taxes:                                                        $2.325.00
       Other / Debits (incl. 506(c) surcharge)                              $8,750.00
       Satisfaction of Liens:
       SPS               (home mortgage)                                    $131,825.00

       The above anticipated closing costs and taxes are subject to per diem charges, changes in

prorations, and otherwise represent approximate amounts. The Trustee seeks authority to pay

these amounts, or their reasonable equivalent amounts, to the respective payees depending on the

subjective per diem alteration and other variable factors, and




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   D. Granting the Trustee such other and further relief as is just and proper.



                                             Respectfully submitted,

                                             /s/ Arvind Mahendru
                                             Arvind Mahendru, Esq.
                                             5703 Red Bug Lake Rd. #284
                                             Winter Springs, FL 32708
                                             407-504-2462



                                     CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served by U.S. Mail and/or
electronic delivery to all parties on the attached mailing matrix this February 26, 2019.

                                                    /s/ Arvind Mahendru
                                                    Arvind Mahendru




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